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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                          Plaintiff,              )
                                                  )                  8:00CR189
                vs.                               )
                                                  )                  ORDER
MARCO HARDEMAN,                                   )
                                                  )
                          Defendant.              )

        Defendant Marco Hardeman appeared before the court on Wednesday, May 11, 2005 on a
Petition for Warrant or Summons for Offender Under Supervision [68]. The defendant was represented
by attorney Michael J. Tasset and the United States was represented by Assistant U.S. Attorney Douglas
R. Semisch. Through his counsel, the defendant waived his right to a probable cause hearing on the
Report pursuant to Fed. R. Crim. P. 32.1(a)(1). The government moved for detention. Through counsel,
the defendant declined to present any evidence on the issue of detention and otherwise waived a
detention hearing. Since it is the defendant’s burden under 18 U.S.C. § 3143 to establish by clear and
convincing evidence that he is neither a flight risk nor a danger to the community, the court finds the
defendant has failed to carry his burden and that he should be detained pending a dispositional hearing
before Judge Bataillon.
        I find that the Report alleges probable cause and that the defendant should be held to answer for
a final dispositional hearing before Bataillon.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Judge Joseph F. Bataillon in Courtroom
No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 9:30
a.m. on June 24, 2005. Defendant must be present in person.
        2       The defendant, Marco Hardeman, is committed to the custody of the Attorney General
or his designated representative for confinement in a correctional facility;
        3.      The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 11th day of March, 2005.

                                                          BY THE COURT:

                                                          s/ F. A. Gossett
                                                          United States Magistrate Judge
